                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                          DOCKET NO. 3:15-cr-00105-MOC-DCK

 UNITED STATES OF AMERICA,                       )
                                                 )
                                                 )
                                                 )
 Vs.                                             )                       ORDER
                                                 )
 LAURENTINO BENITEZ,                             )
                                                 )
                  Defendant.                     )



       THIS MATTER is before the court on Defendant’s Notice of Appeal and Motion for

Revocation of the Magistrate Judge’s Order Denying Bond (#60). In accordance with 18 U.S.C.

§ 3145(c), the court has promptly considered the appeal of this detention order and Defendant’s

request for a hearing. Having considered the matter and reviewed the Order of Detention

Pending Trial (#31), the transcript and FTR recording of the hearing, and the government’s

response (#67) to Defendant’s Notice of Appeal (#60), the court will calendar this matter for a

hearing. The parties are advised that in addition to whatever evidence they choose to present to

the court, the court will be particularly interested in Defendant’s specific contentions as to his

severe arthritis, which he argues are putting a significant strain on his health and the jail. Defense

counsel is instructed to inform the government ahead of time as to Defendant’s specific

contentions in this regard so that the government may be prepared to respond at the hearing. The

court therefore enters the following Order.




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                                         ORDER

       IT IS, THEREFORE, ORDERED that Defendant’s Notice of Appeal and Motion for

Revocation of the Magistrate Judge’s Order Denying Bond (#60) be calendared for a hearing

during this court’s Charlotte criminal term commencing July 20, 2015.

        IT IS FURTHER ORDERED that counsel in this matter confer prior to the hearing

regarding Defendant’s contentions so that the government may have an opportunity to fully

prepare for the hearing.




 Signed: July 7, 2015




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